[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
The plaintiff claims damages for personal injuries he sustained as a result of a rear; end collision on May 12, 1992. The pro se defendant does not contest the occurrence, but claims it was a minor collision and that the left rear of the vehicle in which the I plaintiff was a passenger was struck.
The plaintiff presented medical bills totalling $5,404.00. of this amount, $665.00 was the result of four visits to an orthopedist, and $150.00 of the $665.00 was for a 1993 "re-evaluation". General Practitioners of Hamden charged $4,739.00 for various "physical therapy" treatments extending from May 14 to October 8, 1992.
The orthopedist diagnosed the plaintiff's condition as strains of the cervical spine, lumbro-sacral spine and osteo-arthritis and degenerative intervertebral disc disease of the cervical spine. He finds a 5% permanency in the cervical spine "as a result of the motor vehicle accident of November 12, 1992." No physician addressed the role of the disc disease in the plaintiff's complaint of back and neck pain.
The court concludes that a fair and reasonable award for this injury is the sum of $30,000.00. The plaintiff made no claim for lost wages, past or future. CT Page 5316-EEEE
Plaintiff's counsel agreed that the court should consider the collateral source payments received by the plaintiff in the amount of $7,000.00.
Judgment may enter for the plaintiff in the amount of $23,000.00, plus taxable costs.
Anthony V. DeMayo State Trial Referee